                             No. 25-70004

                                 IN THE
   United States Court of Appeals for the Fifth Circuit
                            DAVID WOOD,
                                   Plaintiff–Appellant
                                   v.

   RACHEL PATTON, in her official capacity as Assistant Attorney
                          General,
                                   Defendant–Appellee

           On Appeal from the United States District Court
          For the Western District of Texas, Austin Division
                      Cause No. 1:24-CV-1058

  APPELLEE’S BRIEF AND OPPOSITION TO MOTION FOR A
                 STAY OF EXECUTION

KEN PAXTON                              RACHEL PATTON
Attorney General of Texas               Assistant Attorney General
                                          Counsel of Record
BRENT WEBSTER
First Assistant Attorney General        P.O. Box 12548, Capitol Station
                                        Austin, Texas 78711
JOSH RENO                               (512) 936-1400
Deputy Attorney General                 rachel.patton@oag.texas.gov
For Criminal Justice

TOMEE HEINING
Acting Chief, Criminal Appeals
Division


                   Counsel for Defendant–Appellee
            CERTIFICATE OF INTERESTED PERSONS

     The undersigned counsel of record certifies that the following listed

persons and entities as described in the fourth sentence of Rule 28.2.1

have an interest in the outcome of this case. These representations are

made in order that the judges of this court may evaluate possible

disqualification or recusal.

Defendant–Appellee
     Rachel Patton
     District Attorney Pro Tem

Counsel for Defendant–Appellee
    Rachel Patton, Assistant Attorney General
    OFFICE OF THE ATTORNEY GENERAL OF TEXAS

Plaintiff–Appellant
     David Wood

Counsel for Plaintiff–Appellant
    Claire Davis, Naomi Fenwick, Jeremy Schepers, Dallas, Texas
    FEDERAL PUBLIC DEFENDER’S OFFICE, NORTHERN DISTRICT OF
    TEXAS, CAPITAL HABEAS UNIT

     Gregory Wiercioch

                                 s/ Rachel Patton
                                 RACHEL PATTON
                                 Assistant Attorney General
                                    Counsel of Record

                                 Counsel for Defendants–Appellee




                                    i
          STATEMENT REGARDING ORAL ARGUMENT

     Because there is little time before Plaintiff–Appellant’s scheduled

execution, and because the parties’ briefs adequately lay out the facts and

legal arguments, the decisional process would not be significantly aided

by oral argument.




                                    ii
                                     TABLE OF CONTENTS

STATEMENT REGARDING ORAL ARGUMENT ............................ ii

TABLE OF CONTENTS ....................................................................... iii

TABLE OF AUTHORITIES ................................................................... v

INTRODUCTION .................................................................................... 1

STATEMENT OF THE ISSUES ............................................................ 4

STATEMENT OF THE CASE................................................................ 4

       I.        Facts of the Crime ............................................................... 4

       II.       Trial, Direct Appeal, and Postconviction Proceedings .

             ...................................................................................................... 8

SUMMARY OF THE ARGUMENT ..................................................... 16

STANDARD OF REVIEW .................................................................... 18

ARGUMENT .......................................................................................... 18

       I.        This Court Should Affirm the Lower Court’s
                 Judgment Dismissing Wood’s Claims. ........................... 18

                          A.       Federal Rule of Civil Procedure 12(b)(6).... 20

                          B.       The Osborne standard .................................... 21

                          C.       Wood’s “illusory” claim is baseless. ............. 22

                          D.       Wood’s claim challenging Chapter 64’s
                                   unreasonable-delay element is baseless. .... 32

       II.       This Court Should Deny Wood’s Request for a Stay of
                 Execution............................................................................. 44

CONCLUSION ....................................................................................... 48



                                                        iii
CERTIFICATE OF SERVICE ............................................................. 49

CERTIFICATE OF COMPLIANCE.................................................... 50

ELECTRONIC CASE FILING CERTIFICATIONS ......................... 51




                                          iv
                                  TABLE OF AUTHORITIES
Cases                                                                                                 Page(s)

Adams v. Thaler, 679 F.3d 312 (5th Cir. 2012) ...................................... 18

Alvarez v. Attorney Gen. for Fla., 679 F.3d 1257 (11th Cir. 2012) ... 19, 34

Ambriati v. State, 2015 WL 6998616 (Tex. App—Beaumont Nov. 12,
 2015) ...................................................................................................... 30

Ashcroft v. Iqbal, 556 U.S. 662 (2009) .................................................... 20

Atkins v. Virginia, 536 U.S. 304 (2002) .............................................. 8, 11

Barefoot v. Estelle, 463 U.S. 880 (1983) .................................................. 44

Bell Atlantic Corp. v. Twombly, 550 U.S. 544 (2007) ................. 20, 21, 32

Bucklew v. Precythe, 587 U.S. 119 (2019) ............................................... 46

Cooper v. Ramos, 704 F.3d 772 (9th Cir. 2012) ...................................... 19

Cooper v. State, 673 S.W.3d 724 (Tex. Crim. App. 2023) ....................... 27

Cromartie v. Shealy, 941 F.3d 1244 (11th Cir. 2019) ......................... 1, 37

Cunningham v. Dist. Attorney’s Office for Escambia County, 592 F.3d
 1237 (11th Cir. 2010) ............................................................................ 34

Dist. Attorney’s Office for Third Judicial Dist. v. Osborne, 557 U.S. 52
 (2009)............................................................................................. Passim

District of Columbia Court of Appeals v. Feldman, 460 U.S. 462 (1983) ...
 ................................................................................................................. 3

Evans v. State, 628 S.W.3d 358 (Tex. App—Ft. Worth 2021) ................ 30




                                                         v
Ex parte Wood, 2009 WL 10690712 (Tex. Crim. App. Aug. 19, 2009) ...... 9

Filer v. Donley, 690 F.3d 643 (5th Cir. 2012).......................................... 18

Garcia v. Castillo, 431 F. App’x 350 (5th Cir. 2011)............................... 22

Gomez v. U.S. Dist. Court for Northern Dist of California, 503 U.S. 653
 (1992)..................................................................................................... 45

Gutierrez v. Saenz, 145 S. Ct. 118 (2024)............................................ 2, 24

Gutierrez v. Saenz, 93 F.4th 267 (5th Cir. 2024) ................................ 2, 23

Gutierrez v. Saenz, 565 F. Supp. 3d 892 (S.D. Tex. 2021) ............ 2, 23, 24

Hill v. McDonough, 547 U.S. 573 (2006)..................................... 18, 44, 46

Hilton v. Braunskill, 481 U.S. 770 (1987)............................................... 45

In re Katrina Canal Breaches Litig, 495 F.3d 191 (5th Cir. 2007) ........ 20

In re Pruett, 784 F.3d 287 (5th Cir. 2015)............................................... 20

In re Robertson, Sr., 2021 WL 1312589 (Tex. App.—Austin Apr. 8, 2021)
  ............................................................................................................... 30

In re Wood, 648 Fed.Appx. 388 (5th Cir. 2016) ........................................ 8

Kiffe v. State, 361 S.W.3d 104 (Tex. App. Houston [1st Dist.] 2011) ..... 29

Leal v. State, 303 S.W.3d 292 (Tex. Crim. App. 2009) ........................... 37

Lookingbill v. Cockrell, 293 F.3d 256 (5th Cir. 2002) ............................. 41

Manning v. Epps, 688 F.3d 177 (5th Cir. 2012) ..................................... 41




                                                        vi
Martin K. Eby Constr. Co. v. Dallas Area Rapid Transit, 369 F.3d 464
 (5th Cir. 2004) ....................................................................................... 20

McKithen v. Brown, 626 F.3d 143 (2d Cir. 2010) ................................... 34

Medina v. California, 505 U.S. 437 (1992) ....................................... 22, 33

Nelson v. Campbell, 541 U.S. 637 (2004) .......................................... 44, 45

Nken v. Holder, 556 U.S. 418 (2009) ................................................. 45, 46

Pruett v. Choate, 711 F. App’x 203 (5th Cir. 2017) ................................. 19

Pruett v. State, 2017 WL 1245431 (Tex. Crim. App. Apr. 5, 2017) ........ 27

Raby v. State, 2005 WL 8154134 (Tex. Crim. App. June 29, 2005) ...........
 ......................................................................................................... 42, 43

Reed v. Goertz, 598 U.S. 230 (2023) ........................................................ 19

Reed v. State, 541 S.W.3d 759 (Tex. Crim. App. 2017) ......... 38, 39, 40, 44

Rhines v. Weber, 544 U.S. 269 (2005) ............................................... 17, 40

Rivera v. State, 89 S.W.3d 55 (Tex. Crim. App. 2002) ............................ 26

Rogers v. Tennessee, 532 U.S. 451 (2001) ............................................... 43

Rooker v. Fidelity Trust Co., 263 U.S. 413 (1923) .................................... 3

Routier v. State, 273 S.W.3d 241............................................................. 42

Skinner v. State, 122 S.W.3d 808 (Tex. Crim. App. 2003) ...................... 42

Skinner v. State, 665 S.W.3d 1 (Tex. Crim. App. 2022).......................... 31

Skinner v. Switzer, 562 U.S. 521 (2011) ................................................. 22



                                                      vii
State v. Long, 2015 WL 2353017 (Tex. App.—Waco, May 14, 2015) ..... 27

State v. Stephens, 2021 WL 5917198 (Tex. Crim. App. Dec. 15, 2021) .. 15

Steph v. Scott, 840 F.2d 267 (5th Cir. 1988) ........................................... 19

Swearingen v. State, 303 S.W.3d 728 (Tex. Crim. App. 2010) ............... 40

United States v. Salerno, 481 U.S. 739 (1987) ........................................ 27

Walker v. Epps, 287 F. App’x 371 (5th Cir. 2008)................................... 45

Wilson v. State, 2003 WL 1821465 (Tex. Crim. App. Mar. 26, 2003) ..... 27

Wood v. Dretke, 2006 WL 1519969 (N.D. Tex. June 2, 2006) ................... 8

Wood v. Quarterman, 552 U.S. 1314 (2008) ....................................... 9, 43

Wood v. State, 693 S.W.3d 308 (Tex. Crim. App. 2024).................. Passim

Wood v. Texas, 2025 WL 581671 (2025).................................................. 15

Statutes

18 U.S.C. § 3600(a)(10)(B) ....................................................................... 33

42 U.S.C. § 1983 ........................................................................................ 2

Tex. Code Crim. Proc. art. 64.01 ............................................................ 27

Tex. Code Crim. Proc. art. 64.01(a-1) ..................................................... 26

Tex. Code Crim. Proc. art. 64.03 ............................................................. 27

Tex. Code Crim. Proc. art. 64.03(a)(1)(A) ............................................... 22




                                                   viii
Tex. Code Crim. Proc. art. 64.03(a)(2)(A) ............................................... 23

Tex. Code Crim. Proc. art. 64.03(a)(2)(B) ......................................... 33, 37

Tex. Code Crim. Proc. art. 64.03(a)–(e)................................................... 26

Tex. Code Crim. Proc. art. 64.05 ................................................. 25, 30, 36

Texas Code of Criminal Procedure Article 38.43.................................... 31

Rules

Federal Rule of Civil Procedure 12(b)(6) ................................................ 20

Federal Rules of Appellate Procedure Rule 32(a)(7)(B) ......................... 50




                                             ix
                            INTRODUCTION

      “Every court of appeals to have applied the Osborne[ 1] test to a

state’s procedure for postconviction DNA testing has upheld the

constitutionality of it.” Cromartie v. Shealy, 941 F.3d 1244, 1252 (11th

Cir. 2019).

      Almost forty years ago, Plaintiff–Appellant David Wood killed three

women and three teenaged girls and buried their bodies in a desert

outside El Paso. Wood was convicted of capital murder and sentenced to

death for these crimes in 1992. He engaged in a dilatory course of

piecemeal litigation over the following decades to unreasonably delay the

execution of his sentence. See Wood v. State, 693 S.W.3d 308, 339–40

(Tex. Crim. App. 2024). That piecemeal litigation included several

motions Wood filed under Chapter 64 of the Texas Code of Criminal

Procedure (Chapter 64) for postconviction DNA testing. See id.

      Although Chapter 64 was enacted in 2001, id. at 330, Wood did not

file a motion seeking postconviction DNA testing until 2010, id. He then




1      Dist. Attorney’s Office for Third Judicial Dist. v. Osborne, 557 U.S. 52
(2009) (“Federal courts may upset a State’s postconviction relief procedures
only if they are fundamentally inadequate to vindicate the substantive rights
provided.”).


                                      1
purposefully “doled out” additional Chapter 64 motions and ancillary

motions to delay the Chapter 64 proceedings and the execution of his

sentence. Id. at 337–38. The state trial court granted Wood’s first

Chapter 64 motion in 2010, id. at 311, but denied his remaining motions

in 2022, id. at 331–36. The Texas Court of Criminal Appeals (CCA)

recognized the plain import of Wood’s piecemeal litigation he engaged in

for more than a decade—that it was for the purpose of unreasonable

delay. Id. at 339–40. Accordingly, the CCA affirmed the state trial court’s

denial of Wood’s Chapter 64 motions. Id.

     Wood then filed in the lower court a complaint pursuant to 42

U.S.C. § 1983 alleging Chapter 64 violated procedural due process.

ROA.6. Specifically, Wood claimed that (1) the CCA’s authoritative

construction of Chapter 64 rendered it “an illusory right that cannot be

reasonably obtained,” ROA.7 (citing Gutierrez v. Saenz, 565 F. Supp. 3d

892, 908 (S.D. Tex. 2021), vacated, 93 F.4th 267 (5th Cir. 2024), cert.

granted, 145 S. Ct. 118, 118–19 (2024)), and (2) the CCA interpreted

Chapter 64’s unreasonable-delay element “in a new and novel way” in his

case, ROA.7. Wood also filed a motion for a preliminary injunction

seeking a stay of his scheduled execution. ROA.2183–2213. Defendant



                                    2
Rachel Patton, District Attorney Pro Tem, 2 filed a motion to dismiss the

complaint for lack of jurisdiction and failure to state a claim on which

relief could be granted, ROA.2077–2123, and filed an opposition to

Wood’s request for a stay of execution, ROA.2219–42.

      The lower court dismissed Wood’s complaint and denied his motion

for a preliminary injunction. ROA.2281. In doing so, the district court

held Wood had standing to bring his claims because he sought a

declaratory judgment that Chapter 64 violates procedural due process

rather than an order compelling DNA testing, ROA.2271–72, Defendant

was not entitled to immunity under the Eleventh Amendment because

Wood explicitly sought only declaratory and injunctive relief, ROA.2272–

73, and Wood’s claims were not barred by the Rooker-Feldman3 doctrine

because he challenged Chapter 64 as authoritatively construed by the

CCA rather than the adverse state court judgment, ROA.2273–74. The

district court held, however, that Wood’s claims failed to state a claim on

which relief could be granted. ROA.2276–78. As to Wood’s first claim, the



2     Defendant–Appellee is listed in this case as Rachel Patton, in her official
capacity as Assistant Attorney General. However, Defendant was not sued in
that capacity but rather as the District Attorney Pro Tem. ROA.5, 8.
3     See Rooker v. Fidelity Trust Co., 263 U.S. 413 (1923), and District of
Columbia Court of Appeals v. Feldman, 460 U.S. 462 (1983).


                                       3
court held Wood failed to show Chapter 64 is an illusory right. ROA.2276.

As to the second claim, the court held Wood failed to show the CCA’s

interpretation and application in his case of Chapter 64’s unreasonable-

delay element was contrary to the CCA’s precedent. ROA.2277.

Moreover, the district court held that Chapter 64’s unreasonable-delay

element was not inconsistent with any principle of fundamental fairness.

ROA.2277–78.

     The district court’s dismissal of Wood’s complaint was indisputably

proper, and its denial of Wood’s request for a stay of execution was no

abuse of discretion. This Court should affirm the district court’s dismissal

of Wood’s complaint and deny a stay of execution.

                    STATEMENT OF THE ISSUES

     1.    Whether the district court properly dismissed Wood’s

           meritless claims; and

     2.    Whether the district court abused its discretion in

           denying Wood a stay of execution.

                     STATEMENT OF THE CASE

I.   Facts of the Crime

         Six women disappeared from the El Paso area between
     May 13, 1987 and August 27, 1987. Between September 4,


                                     4
1987 and March 14, 1988, the bodies of these women were
found buried in shallow graves in the same desert area
northeast of El Paso....The first body discovered was that of
Rosa Casio, age 23, who worked in a topless club. On the
evening of her disappearance she was seen holding hands
with a man who could have been [Wood]. The second body
found was that of Karen Baker, age 21, who lived at a hotel
on Dyer. The day of her disappearance, she was seen by
Charles Lloyd riding a red Harley Davidson with [Wood]. She
told Lloyd that [Wood] would be back to pick her up for a date
at midnight. At midnight, Lloyd saw a man pull up in a white
or beige pickup. The man got out and walked toward Karen,
who was standing nearby. This was the last time Karen was
seen. The third body recovered was that of Dawn Smith, age
14. This victim was well-acquainted with [Wood] and there
was testimony that she would have accepted a ride with him.
The fourth body was that of Desiree Wheatley, age 15. Desiree
was last seen near a Circle K store, getting into the passenger
side of a small beige truck driven by [Wood]. The fifth body
was that of Angelica Frausto, age 17, who was a dancer at a
topless bar. She was last seen going for a ride with a man on
a red Harley-Davidson. The sixth body recovered was that of
Ivy Williams, age 23, a prostitute and exotic dancer. She was
seen with [Wood] shortly before her disappearance.

       Five of the bodies were located in the same one by one-
half mile area; the sixth was three-quarters of a mile away.
All of the bodies were approximately 30 to 40 yards from one
of the dirt roadways in the desert. Four of the bodies were in
various states of undress, indicating that the killer had
sexually abused them. [Wood]’s former girlfriend and others
testified that he owned a beige pickup. He also drove a red
Harley-Davidson. [Wood]’s girlfriend testified that he had
several tattoos on his body and that he owned both a burnt
orange blanket and some shovels, all of which he kept in the
back of his pickup. A forensic chemist testified that orange
fibers found on the clothing of one of the victims matched



                              5
     orange fibers taken from a vacuum cleaner bag which [Wood]
     and his girlfriend had left in their old apartment.

           Randy Wells testified that he shared a cell with [Wood]
     for two and a half months in 1989. [Wood] told him about the
     murders, describing his victims as topless dancers or
     prostitutes. [Wood] told him that he would lure each girl into
     his pickup with an offer of drugs. Then he would drive out to
     the desert, tie her to his truck and dig a grave. Next he would
     tie the victim to a tree and rape her. Wells also testified that
     he covered over some of [Wood]’s tattoos with new ones. He
     said [Wood] told him he wanted the tattoos covered up
     because one girl who had seen the tattoos had gotten away
     from him.

           Both Karen Baker and Desiree Wheatley were with
     [Wood] when they were last seen alive. Ivy Williams was seen
     with [Wood] shortly before her disappearance. In the case of
     the victim Desiree Wheatley, a witness who knew [Wood]
     before the incident identified him as the man driving the
     pickup that Wheatley climbed into. All of the murders took
     place between May 30, 1987 and August 28, 1987.

Wood v. State, No. 71,594, slip op. at 3–5 (Tex. Crim. App. Dec. 13, 1995).

     The CCA also detailed in its opinion testimony given at the guilt

phase of the trial by the victim of an extraneous offense committed by

Wood in July 1987:

           [Judith] Kelly was walking outside of a Circle K located
     on Kemp and Dyer in the northeast part of El Paso. A tattooed
     man driving a tan pickup stopped and asked her if she needed
     a ride. Kelly identified [Wood] in court as the driver of the
     pickup. She accepted his offer, climbed into his vehicle, and
     told [Wood] where she was going. When [Wood] passed up the
     turn she had directed him to take, he explained that he would


                                    6
     take her back after first stopping by the house of a friend. He
     stopped at an apartment complex and went inside. When he
     returned about three minutes later, a piece of narrow rope
     was hanging from one of his pockets.

           [Wood] drove northeast of town toward the desert, in the
     direction opposite Kelly’s friend’s apartment. He explained
     that he was going there to recover some cocaine he had buried
     in the desert. He stopped first at a gate in the desert area east
     of Dyer. Finding the gate locked, he crossed back west into the
     desert area located between Dyer and McCombs. After driving
     around the area for a good while, [Wood] finally stopped his
     truck, got out, and ordered Kelly out as well. She saw him get
     a “brownish red” blanket and a shovel from the back of his
     truck and take them behind some bushes. After tying her to
     the front of his truck with the rope, [Wood] proceeded to dig a
     hole behind the bushes. Ten or fifteen minutes later, he
     returned with the blanket and began ripping her clothes and
     forcing her to the ground. Suddenly hearing voices, [Wood]
     ordered Kelly to get back in the truck.

            [Wood] drove across to the desert on the west side of
     McCombs, where he stopped his vehicle again. He ordered her
     out, spread the blanket on the ground and forced her to
     remover her clothes. He gagged her and tied her to a bush.
     While he had her on the ground attempting to rape her, he
     ordered her to say that she was 13; she refused to do so, saying
     she was 27 or 28 years old. Ultimately, [Wood] did rape Kelly.
     Immediately afterwards, [Wood] stated that he heard voices.
     He hastily threw the blanket and Kelly’s clothing into the
     back of his truck and drove away, leaving her naked in the
     desert. His final words to her were, “[A]lways remember, I’m
     free.”
Id. at 2–3.




                                    7
II.   Trial, Direct Appeal, and Postconviction Proceedings

      David Wood was convicted and sentenced to death for the murder

of six women in El Paso County, Texas in 1992. The CCA affirmed his

conviction and sentence on direct appeal. Wood v. State, No. 71,594 (Tex.

Crim. App. Dec. 13, 1995). Wood filed his first state application for writ

of habeas corpus on December 19, 1997, and the CCA denied relief in

2001. Ex Parte Wood, No. 45,746-01 (Tex. Crim. App. Sept. 19, 2001).

      Wood filed his initial federal petition for writ of habeas corpus on

May 6, 2002. Later, on October 2, 2002, Wood filed an amended petition

in which he raised the three claims exhausted in his state habeas

application as well as several dozen unexhausted claims. The Supreme

Court decided Atkins v. Virginia, 536 U.S. 304 (2002), after the filing of

Wood’s original federal petition but before he filed his amended federal

petition. However, Wood did not raise an Atkins claim in the amended

petition, nor did he seek to amend the petition a second time to include

an Atkins claim. The district court denied each claim on the merits and

subsequently denied a certificate of appealability (COA). Wood v. Dretke,

No. 3:01-CV-2103-L, 2006 WL 1519969, at *19 (N.D. Tex. June 2, 2006).

Wood filed a notice of appeal and applied for a COA. A COA was denied,



                                    8
and the Supreme Court denied certiorari on April 14, 2008. Wood v.

Quarterman, 503 F.3d 408 (5th Cir. 2007); Wood v. Quarterman, 552 U.S.

1314 (2008).

     Litigation complete, the state trial court scheduled Wood’s

execution for August 20, 2009. Two days before the scheduled execution

Wood filed a subsequent application for writ of habeas corpus and a

motion for stay of execution. Wood was granted a stay of execution so that

he could raise an Atkins claim in the trial court. Ex parte Wood, No. WR-

45,746-02, 2009 WL 10690712, at *1 (Tex. Crim. App. Aug. 19, 2009).

     Eighteen years after his conviction and sentence, on November 1,

2010, David Wood filed his first motion for DNA testing pursuant to

Chapter 64 of the Texas Code of Criminal Procedure. ROA.79. Wood’s

Atkins claim was being litigated in the state district court, and Wood

asked the State to agree to DNA testing of evidence that was previously

tested for purposes of Wood’s trial. ROA.79. The State agreed, and the

Court granted Wood’s motion for DNA testing. ROA.79. Wood

unsuccessfully attempted to stay the Atkins litigation until the DNA

testing could be completed. ROA.172. Wood asked the court to reconsider

the stay while additional attorneys who had been appointed to represent



                                    9
him also asked for a ninety-day extension of all deadlines. See ROA.193.

The court refused to grant an indefinite stay but agreed to a ninety-day

extension. See ROA.193. However, the judge stated that Wood was

engaging in dilatory tactics and that Wood was seeking DNA testing for

that purpose. See ROA.195, 508. The Atkins hearing was rescheduled for

June 20, 2011, and Wood had until February 15, 2011, to turn over his

expert reports. See ROA.195.

     In early January 2011, the case was transferred from Judge Peca

to Judge Bert Richardson. See ROA.349. Before Wood’s February 15

deadline, Judge Richardson informed Wood’s counsel that he would be

willing to extend the deadline for turning over expert reports to some

point shortly after an upcoming scheduling hearing. See ROA.349. On

February 24, 2011, Wood filed a supplemental motion for DNA testing.

ROA.180. Wood sought to test evidence that had not been previously

tested: fingernails from the victim Angie Frausto. ROA.181. The State

opposed this motion. ROA.187.

     Wood continued to attempt to delay the Atkins case and repeatedly

ignored deadlines to turn over his expert reports. See ROA.350, 508.

During the week of August 8, 2011, the parties met in El Paso for a



                                  10
hearing to address the results of the DNA testing and to set a hearing

date for the Atkins claim. See ROA.350. At the August hearing, the

parties agreed to begin the Atkins hearing on October 11, 2011. See

ROA.350. Following the August hearing, Judge Richardson entered

findings that the results of the DNA testing were not exculpatory.

ROA.232.

     On August 19, 2011, Wood informed the State that, despite his

multiple extensions and missed deadlines, he would not be relying on any

experts for the upcoming Atkins hearing. ROA.350. On October 11, 2011,

four days before the Atkins hearing and over a month after the

amendments to Chapter 64 went into effect, Wood filed a formal motion

for DNA testing under Chapter 64 seeking to test more than sixty-nine

items of evidence. ROA.233. The trial court agreed to appoint an expert,

William Watson, to assist Wood in determining what evidence may be

available for testing. ROA.507–11. Years passed without any word from

Wood until the trial court announced that if no DNA issues were going to

be pursued an execution date would be set. See ROA.531–32.

     Following the court’s admonition, Wood filed a hastily drafted two-

page motion for DNA testing on April 3, 2015. ROA.544–45. The State



                                  11
filed an opposition to this motion on April 7, 2015. ROA.529. On April 30,

2015, Dr. Watson submitted a letter to the court stating that he had

traveled to El Paso and reviewed the evidence. ROA.580. He then

addressed which items of evidence he believed might contain biological

material. ROA.581. The trial court did not enter an order scheduling

Wood’s execution and on September 1, 2015, additional amendments to

Chapter 64 went into effect. On November 2, 2015, Wood filed a motion

for the court to create a profile of an alternative suspect and a motion

asking the court to unseal evidence pertaining to a body that was

discovered in the desert east of El Paso during Wood’s trial. ROA.619,

710.

       At this point, a hearing on DNA issues was tentatively set for

November 12, 2015, although it did not occur at that time. See ROA.763.

Regardless, Wood filed the motion less than two weeks before the

tentative date, and seven months after the court’s admonitions to Wood.

       On December 11, 2015, the State filed its response to Wood’s motion

to create a DNA profile for an alternate suspect. ROA.761. The State filed

an advisory on August 10, 2016, informing the court that the discovered




                                    12
body was that of a Hispanic male and was unrelated to the desert

murders. ROA.840.

     On August 19, 2016, Wood filed a “Motion to Compel Attorney

General to Disclose Crime Stopper’s Tip about Alternative Suspect.”

ROA.863. Next, on September 23, 2016, Wood filed a “Motion to Mitigate

Harm Caused By State’s Loss or Destruction of Potentially Exculpatory

Biological Evidence.” ROA.907. Wood then filed a “Motion to Compel

State to Disclose Correspondence between State and Jailhouse Informant

James Carl Sweeney.” ROA.963. Finally, on January 31, 2017, Wood filed

a “Motion to Compel Disclosure of Brady Material Related to Police

Misconduct.” ROA.1029. On February 8, 2017, the State filed a response

to Wood’s three motions to compel, asserting that the court lacked

jurisdiction to consider these motions. ROA.1178.

     A hearing to address the DNA issues was scheduled for March 8,

2017. See ROA.1331. On March 3, 2017—a mere five days before the

hearing and approximately a year-and-a-half after Chapter 64 was

amended—Wood submitted to the trial court a motion in excess of sixty

pages for postconviction DNA testing under Chapter 64. ROA.1187–1246.

In this motion, Wood asked the Court to test items that had never been



                                  13
considered and were not included in any of his other motions for

postconviction DNA testing. ROA.1187–1246.

     Then, after the hearing was held on March 8, 2017, on April 18,

2017, Wood filed a motion seeking to disqualify Judge Richardson from

the case, claiming that the judge “tied his success in the election for a

seat on the CCA to a particular outcome in David Wood’s death penalty

case.” ROA.1276. The motion was filed more than two years after Judge

Richardson was elected to the CCA and nearly four years after Judge

Richardson found that Wood was not intellectually disabled. See

ROA.1329. Presiding Judge Stephen Ables denied Wood’s motion on June

12, 2017. ROA.1430. The CCA denied Wood’s petition for leave to file a

writ of mandamus on the issue on July 26, 2017. Notice, In re Wood, No.

WR-45,746-03 (Tex. Crim. App. July 26, 2017).

     Back in the trial court, on December 4, 2017, Wood filed a motion

to disqualify the Attorney General’s office as the District Attorney Pro

Tem in this case. ROA.1431. On March 3, 2022, Judge Richardson denied

Wood’s motions for DNA testing, to mitigate harm, and to disqualify the

Attorney General’s office. ROA.1518–21, 1523.




                                   14
     On March 18, 2022, Wood filed another motion to disqualify the

Attorney General’s office as District Attorney Pro Tem. ROA.1525. Ten

days later, Wood filed a motion to rescind the DNA testing order that was

entered on March 3, 2022. ROA.1545. Wood wanted the trial court to

rescind its orders to

     await the decision of the Court of Criminal Appeals on the
     petition for rehearing in State v. Stephens, -- S.W.3d --,2021
     WL 5917198 (Tex. Crim. App. Dec. 15, 2021), before ruling on
     the State’s Proposed Order Denying DNA Motions, the State’s
     Proposed Execution Warrant, and the Defendant’s Motion to
     Terminate Assistant Attorney General as Attorney Pro Tem.

ROA.1545. The trial court did not act on Wood’s motion. The CCA

affirmed the trial court’s denial on appeal. Wood v. State, 693 S.W.3d 308,

322–40 (Tex. Crim. App. 2024). Wood filed a motion for rehearing which

was denied by the CCA on August 21, 2024. See id. On February 24, 2025,

the Supreme Court denied Wood’s request for certiorari review of the

CCA’s opinion affirming the trial court’s denial of DNA testing. Wood v.

Texas, –S.Ct. –, 2025 WL 581671 (2025).

     On August 15, 2024, the 371st District Court of El Paso County,

Texas entered an order setting Wood’s execution date for March 13, 2025.

     On December 11, 2024, Wood filed, in the trial court, a motion for

disclosure of grand jury testimony in his capital murder case and a


                                    15
motion requesting that attorney Gregory Wiercioch be appointed to

represent Wood in the state trial court. On January 24, 2025, the trial

court granted the motion to appoint counsel but denied the motion for

disclosure of grand jury testimony. Order, Wood v. State, No. 58,486-171

(171st Jud. Dist. Ct. El Paso County, Tex. Jan. 24, 2025).Wood filed in

the lower court a civil rights complaint and a motion for a preliminary

injunction requesting a stay of execution. ROA.5–29, 2183–2213. The

court dismissed the complaint for failing to state a claim on which relief

could be granted, and it denied Wood’s request for a stay of execution.

ROA.2265–82. Wood appealed the lower court’s judgment and its order

denying a stay of execution. The instant Appellee’s Brief and Opposition

to Motion for a Stay of Execution follows.

                  SUMMARY OF THE ARGUMENT

     The district court’s decision was unquestionably correct, and its

denial of a stay of execution was no abuse of discretion. This Court should

affirm the district court’s dismissal of Wood’s complaint and affirm the

court’s denial of a stay of execution. Indeed, no court of appeals has held

that a state’s procedure for postconviction DNA testing violates Osborne,

and Wood provides no reason his should be the first such case.



                                    16
     Wood’s first claim, that postconviction DNA testing is an “illusory”

right in Texas, was utterly unsupported. The district court correctly

concluded Wood failed to demonstrate it is impossible to obtain

postconviction DNA testing in Texas. Wood’s second claim, that the CCA

interpreted Chapter 64’s unreasonable-delay element in a “novel” way in

his case, was a blatant attempt at an end-run around the Rooker-

Feldman doctrine, 4 and it failed to demonstrate a procedural due process

violation in any event. Consequently, the district court properly

dismissed Wood’s complaint for failing to state a claim on which relief

could be granted.

     The district court’s denial of a stay of execution was no abuse of

discretion, most importantly because he was not entitled to such

extraordinary relief to pursue claims that cannot succeed on the merits.

Moreover, the public’s interest in enforcing its valid criminal judgment

outweighs Wood’s request for even further delay. Wood fails to make the

case for a stay, and his motion is merely a meritless attempt to delay

imposition of his well-deserved sentence. See Rhines v. Weber, 544 U.S.




4    The district court found Wood’s claim was not barred by Rooker-
Feldman. ROA.2273–74.


                                   17
269, 277–78 (2005) (it is no secret that “capital petitioners might

deliberately engage in dilatory tactics to prolong their incarceration and

avoid execution of a sentence of death.”). Indeed, a stay of execution is an

equitable remedy, see Hill v. McDonough, 547 U.S. 573, 584 (2006), and

here the equities favor the State. This Court should therefore uphold the

district court’s decision to deny any stay of execution and refuse to issue

any of its own.

                       STANDARD OF REVIEW

     A district court’s legal conclusions are reviewed de novo. Filer v.

Donley, 690 F.3d 643, 646 (5th Cir. 2012). A district court’s decision

concerning a stay of execution is reviewed for an abuse of discretion.

Adams v. Thaler, 679 F.3d 312, 318 (5th Cir. 2012).

                              ARGUMENT

I.   This Court Should Affirm the Lower Court’s Judgment
     Dismissing Wood’s Claims.

     Wood’s complaint raised two claims: (1) that the CCA’s

authoritative construction of Chapter 64 rendered it an “illusory” right;

and (2) that the CCA applied Chapter 64’s unreasonable-delay element

in a “novel” way in his case that deprived him of notice. ROA.19–27. The

district court dismissed Wood’s complaint because it failed to raise a


                                    18
claim on which relief could be granted. ROA.2281. This Court should

affirm because the district court’s judgment was plainly correct. 5



5      In addition to being facially meritless, Defendant maintains that Wood’s
claims were subject to dismissal for lack of subject-matter jurisdiction. Wood
lacked standing because, in the absence of a proper due process claim, his
“dressed-up allegations” amounted to nothing more than claims that the CCA
should be directed to apply Texas law properly. Pruett v. Choate, 711 F. App’x
203, 206 nn.9–10 (5th Cir. 2017). This is particularly true with respect to
Wood’s second claim alleging the CCA interpreted Chapter 64’s unreasonable-
delay element in a “novel” way in his case, which was, at bottom, an
inappropriate as-applied challenge to Chapter 64. Unlike the Supreme Court’s
holding in Reed v. Goertz, 598 U.S. 230, 235 (2023), Wood’s second claim was
plainly an attempt at an end-run around the Rooker-Feldman doctrine. Indeed,
if it were otherwise, any application of law to facts by a state court could be
inappropriately recontextualized by a plaintiff as “novel” to avoid the obvious
implication that the claim attacks the state court judgment. See, e.g., Alvarez
v. Attorney Gen. for Fla., 679 F.3d 1257, 1262–64 (11th Cir. 2012) (barring
under the Rooker-Feldman doctrine a “procedural due process challenge [that]
boil[ed] down to a claim that the state court judgment itself caused [the]
constitutional injury by arbitrarily denying him access to the physical evidence
he seeks”); Cooper v. Ramos, 704 F.3d 772, 780–81 (9th Cir. 2012); Steph v.
Scott, 840 F.2d 267, 270 (5th Cir. 1988) (a federal court cannot entertain a
collateral attack on a state court judgment unless the state court lacked
jurisdiction or the state court lacked the capacity to act as a court). Moreover,
contrary to the district court’s conclusion, ROA.2271, Wood’s claims failed for
lack of redressability. That is because (1) Wood’s first claim failed even to
specifically allege how any provision of Chapter 64 was violative of a
fundamental principle of justice, see ROA.2176, and (2) because a declaratory
judgment addressing Wood’s claims would not make it significantly more likely
that Defendant will agree to release evidence for DNA testing where Wood’s
Chapter 64 motions were inadequate for reasons wholly apart from the
challenges he raises in this Court, see, e.g., ROA.332–47, 765–80, 1379–86,
1406–13. Indeed, Wood’s broad claim that the right to postconviction DNA
testing in Texas is “illusory” did not allege that Chapter 64 is defective in any
particular way and, indeed, Wood admits inmates have obtained
postconviction DNA testing under Chapter 64, Appellant’s Br. 23. This
underscores the absence of any possible effectual relief with respect to this


                                       19
      A.     Federal Rule of Civil Procedure 12(b)(6).

      In analyzing a claim under Federal Rule of Civil Procedure 12(b)(6),

a court accepts all well-pleaded facts as true, viewing them in the light

most favorable to the plaintiff. Martin K. Eby Constr. Co. v. Dallas Area

Rapid Transit, 369 F.3d 464, 467 (5th Cir. 2004). However, “the plaintiff

must plead ‘enough facts to state a claim to relief that is plausible on its

face.’” In re Katrina Canal Breaches Litig, 495 F.3d 191, 205 (5th Cir.

2007) (quoting Bell Atlantic Corp. v. Twombly, 550 U.S. 544, 570 (2007)).

A claim is plausible on its face when the plaintiff pleads factual content

that allows the court to draw the reasonable inference that the defendant

is liable for the misconduct alleged. Ashcroft v. Iqbal, 556 U.S. 662, 678–

79 (2009).

      “The plausibility standard is not akin to a ‘probability requirement,’

but asks for more than a sheer possibility that a defendant has acted

unlawfully.” Id. Accordingly, “[f]actual allegations must be enough to



claim and that the actual relief Wood seeks is an order compelling the CCA to
grant him testing. Additionally, to the extent Wood asked the lower court for a
permanent stay of execution, ROA.28, the request transformed his complaint
into a successive federal habeas action. See In re Pruett, 784 F.3d 287, 290 (5th
Cir. 2015) (plaintiff’s § 1983 action challenging Chapter 64 was in fact a
successive habeas petition because he was “essentially asking for an indefinite
stay of execution based on nothing but speculation”).


                                       20
raise a right to relief above the speculative level, on the assumption that

all the allegations in the complaint are true (even if doubtful in fact).” In

re Katrina, 495 F.3d at 205 (quoting Twombly, 550 U.S. at 555). It is

insufficient, then, to plead facts that are merely consistent with wrongful

conduct; a plaintiff must instead plead facts that plausibly suggest that

he or she is actually entitled to relief. Twombly, 550 U.S. at 556–57.

Further, the pleading must contain something more than a recitation of

facts that merely creates a suspicion of a legally cognizable right of action

on the assumption that all the allegations in the complaint are true. Id.

      B.    The Osborne standard

      Convicted individuals have no substantive constitutional right to

postconviction DNA testing, but if a state provides access, the procedures

must satisfy procedural due process. See Osborne, 557 U.S. at 69, 72–74.

However, a “criminal defendant proved guilty after a fair trial does not

have the same liberty interests as a free man.” Id. at 68. Thus, a state

“has more flexibility in deciding what procedures are needed in the

context of postconviction relief.” Id. at 69.

      A plaintiff challenging a state’s postconviction DNA testing

procedures must demonstrate that “the postconviction relief procedures .



                                     21
. . are fundamentally inadequate to vindicate the substantive rights

provided” such that the procedures “‘offend[ ] some principle of justice so

rooted in the traditions and conscience of our people as to be ranked as

fundamental.’” Id. (quoting Medina v. California, 505 U.S. 437, 446

(1992)). The Supreme Court has “left slim room for the prisoner to show

that the governing state law denies him procedural due process.” Skinner

v. Switzer, 562 U.S. 521, 525 (2011); Garcia v. Castillo, 431 F. App’x 350,

353 (5th Cir. 2011).

     C.    Wood’s “illusory” claim is baseless.

     Wood claimed that the CCA’s construction of Chapter 64 violated

due process because it rendered the right to postconviction DNA testing

an illusion. ROA.19–21. The claim failed on its face because it was not

based on any alleged defect in the statute or on any particular

authoritative construction of it by the CCA. ROA.20–21. Nor did Wood

even attempt to satisfy his burden under Osborne to show that its

procedures were inconsistent with any recognized principle of

fundamental fairness. 557 U.S. at 70. Wood did not, for example, allege

that Chapter 64’s chain of custody requirement, Tex. Code Crim. Proc.

art. 64.03(a)(1)(A), was too stringent, or the materiality standard, Tex.



                                    22
Code Crim. Proc. art. 64.03(a)(2)(A), too burdensome. Instead, Wood

complained generally that the CCA rarely grants DNA testing under

Chapter 64 and has not done so in the last fifteen years. ROA.20. But

without a showing that a particular provision of the statute was

fundamentally inadequate or violated a fundamental principle of justice,

Wood failed even to state a plausible claim for relief. See Osborne, 557

U.S. at 69, 72–74.

      Rather than the controlling Supreme Court precedent in Osborne,

Wood relied on the now-vacated Southern District’s opinion in Gutierrez

v. Saenz, 565 F. Supp. 3d 892, 908 (S.D. Tex. 2021). ROA.19–20. But

Gutierrez has no bearing on this case at all. First, it has no legal force

because it was vacated by the Fifth Circuit, Gutierrez v. Saenz, 93 F.4th

267, 275 (5th Cir. 2024), and the complaint has since been dismissed by

the district court,6 Order of Dismissal, Gutierrez v. Saenz, et al., No. 1:19-

CV-185 (S.D. Tex. June 18, 2024), ECF No. 216. 7 Second, Gutierrez was



6     The United States Supreme Court granted certiorari in Gutierrez to
review the Fifth Circuit’s holding that the plaintiff in that case lacked
standing. Gutierrez v. Saenz, 145 S. Ct. 118, 118–19 (2024).
7     Even if the district court’s opinion in Gutierrez were persuasive authority
despite being vacated, it should be noted the court rejected the plaintiff’s claim
that Chapter 64’s materiality standard was so burdensome as to make testing
an illusory right. Gutierrez, 565 F. Supp. 3d at 908–09 (“[Gutierrez] has not


                                       23
based on an entirely different factual basis. The district court’s judgment

in Gutierrez was based on the fact that Chapter 64 does not provide for

postconviction DNA testing to address punishment-phase issues, which

purportedly rendered Texas’s subsequent habeas relief provision—not

Chapter 64—an illusory right, a matter that is irrelevant here. Gutierrez,

565 F. Supp. 3d at 910.

      Wood asserts that the Supreme Court in Gutierrez is currently

reviewing a “very similar question” as the merits of his illusoriness claim.

Appellant’s Br. 28–29. But the district court held Wood had standing and

dismissed Wood’s complaint on the merits; the Supreme Court in

Gutierrez is currently considering only the Fifth Circuit’s threshold

ruling in that case that the plaintiff lacked standing. See Pet. Cert. ii,

Gutierrez v. Saenz, et al., No. 23-7809 (June 25, 2024). Wood’s

disingenuous effort to tie the merits of his first claim to the standing issue

in Gutierrez is nothing but his latest attempt to secure delay of the

execution of his sentence. In any event, Defendant does not assert Wood’s

claim lacks merit because the State sometimes accedes to requests for



shown that it is impossible for him or another petitioner to meet [Chapter 64’s]
high burden. Gutierrez has not shown it is impossible to receive DNA testing
under Chapter 64.” (citation omitted)).


                                      24
postconviction DNA testing. Instead, Defendant—and the district

court—showed that Wood failed to demonstrate that it is impossible to

obtain postconviction DNA testing in Texas. 8 ROA.2276.

      Wood’s claim was based entirely on the alleged frequency in which

the CCA affirms or overturns lower courts’ rulings in Chapter 64

proceedings:

      That the TCCA has rendered Chapter 64 illusory based on the
      way it construes the statute is borne out by its decisions in
      DNA testing appeals. For the last 15 years, the TCCA has
      denied DNA testing in every appeal of a Chapter 64 motion in
      which Mr. Wood has been able to identify where it was
      requested.

ROA.20. Wood’s argument ignored the obvious fact that the CCA is not

the only Texas court that applies Chapter 64—trial courts and

intermediate courts do, too. Moreover, as an appellate court, the CCA

does not adjudicate an inmate’s Chapter 64 motion in the first instance.

Tex. Code Crim. Proc. art. 64.05. Rather, the CCA (or an intermediate

appellate court, id.) affirms or rejects a trial court’s ruling, which decision



8     Relatedly, Wood argues that he has standing to bring this claim because
a declaratory judgment that Chapter 64 is an illusory right “would undercut
the only reason the TCCA gave for denying testing.” Appellant’s Br. 29. But
the CCA did not deny testing by finding that Chapter 64 is an illusory right. It
is unclear, then, how Wood’s proffered declaratory judgment would “undercut”
the CCA’s reason for affirming the denial of his Chapter 64 motion.


                                      25
is informed in part by deference the reviewing court owes to a trial court’s

adjudication of subsidiary issues. See Rivera v. State, 89 S.W.3d 55, 59

(Tex. Crim. App. 2002) (“[W]e afford almost total deference to a trial

court’s determination of issues of historical fact and application-of-law-

to-fact issues that turn on credibility and demeanor, while we review de

novo other application-of-law-to-fact issues.”).

     The decision of whether to grant a Chapter 64 motion for

postconviction DNA testing is for the trial court, not the CCA. Tex. Code

Crim. Proc. art. 64.01(a-1) (requiring the filing of a Chapter 64 motion in

“the convicting court”); Tex. Code Crim. Proc. art. 64.03(a)–(e) (providing

prerequisites the “convicting court” must find to order postconviction

DNA testing and the procedures the “convicting court” must follow).

Therefore, even if it were proper to determine the constitutionality of

Chapter 64 based solely on how often motions are granted, that evidence

is not found in an examination of appellate statistics. ROA.2276 (the

lower court’s finding that Wood’s claim was unpersuasive because it

inappropriately restricted its scope to “one aspect”—an appeal to the

CCA—of Texas’s postconviction DNA testing procedures).




                                    26
     It suffices to say that Wood’s claim fails because inmates have not

only obtained postconviction DNA testing in Texas but obtained

favorable results via Chapter 64. See, e.g., Cooper v. State, 673 S.W.3d

724, 730 (Tex. Crim. App. 2023) (“In December 2016, the trial court

granted Appellant’s [Chapter 64] motion[.]”); Pruett v. State, No. AP-

77,065, 2017 WL 1245431, at *5 (Tex. Crim. App. Apr. 5, 2017) (the trial

court granted inmate’s motion in 2015); State v. Long, Nos. 10-14-330-

CR, 10-14-331-CR, 10-14-332-CR, 10-14-333-CR, 2015 WL 2353017, at

*1–4 (Tex. App.—Waco, May 14, 2015) (the trial court granted Chapter

64 motions in 2012, and the appellate court affirmed the finding that a

movant “would not have been convicted had the results of the DNA

testing been available at trial”); Wilson v. State, No. 74,390, 2003 WL

1821465, at *2 (Tex. Crim. App. Mar. 26, 2003) (“In fact, numerous trial

courts have granted DNA testing for convicted persons who satisfy the

requirements of Articles 64.01 and 64.03.”). Indeed, if Chapter 64 is not

unconstitutional in all its applications, and it is not, Wood’s claim

necessarily failed. United States v. Salerno, 481 U.S. 739, 745 (1987) (“A

facial challenge to a legislative Act is, or course, the most difficult




                                   27
challenge to mount successfully, since the challenger must establish that

no set of circumstances exists under which the Act would be valid.”).

     Wood accepted this heavy burden, see Appellant’s Br. 23, and

framed his claim as requiring a showing that the CCA’s construction of

Chapter 64 operated as an “automatic barricade” to testing, id. at 22. But

Wood admits that inmates have obtained postconviction DNA testing in

Texas. Appellant’s Br. 25 (“Mr. Wood recognizes that there are a few

examples of individuals receiving DNA testing, but only when the State

agreed to permit it or when the State decided not to file an appeal of a

lower court granting it.”). So Chapter 64 is not an illusory right, and there

is no “automatic barricade,” Appellant’s Br. 24. And because inmates

have indisputably availed themselves of the right to postconviction DNA

testing, Wood’s claim failed to state a plausible claim for relief. This was

particularly true where Wood did not allege the right to postconviction

DNA testing under Chapter 64 was illusory because a particular

provision of the statute was constitutionally deficient or the CCA

authoritatively construed the statute in a particular way. Instead, he

argued broadly that the CCA has not authorized testing under the

statute. ROA.19–20. As the district court held, ROA.2276, this utterly



                                     28
failed to show Chapter 64 on its face or as authoritatively construed by

the CCA violated procedural due process.

      Wood tries to deflect from the fact that inmates have obtained

postconviction DNA testing under Chapter 64 by asserting it has only

happened where the State agreed to it or did not appeal a lower court’s

decision granting it. Appellant’s Br. 25. This does nothing to counter

Defendant’s showing that Chapter 64 is not an illusory right. Indeed, if

the CCA had authoritatively construed Chapter 64 in such a way that

created an “automatic barricade” to testing, the lower courts—bound, as

they are, by the CCA’s holdings9—could not grant testing either. But that

is obviously not the case. Moreover, it goes without saying that a

prosecuting office’s decision of whether to agree to testing or to appeal a

lower court’s ruling is informed by a wide range of discretionary

considerations, including the likelihood of succeeding on appeal. Wood

fails to show that the exercise of such discretion is either inappropriate

or relevant to whether Chapter 64 is an illusory right. To the degree it

might be relevant, it only serves to underscore the relatively few cases—


9     See Kiffe v. State, 361 S.W.3d 104, 109 (Tex. App. Houston [1st Dist.]
2011) (“As an appellate court, we are duty bound to follow precedent issued by
the Texas Court of Criminal Appeals in this matter.”).


                                     29
little more than one per year over the last fifteen years, by Wood’s count,

ROA.20—that reach the CCA after being subjected to winnowing by

adversarial testing in the lower courts.

     In addition to improperly narrowing the inquiry to one court’s

decisions in Chapter 64 cases, Wood also erroneously focused only on

cases where the defendant has been sentenced to death. ROA.20 n. 7.

Chapter 64 provides an avenue to seek postconviction DNA testing to

convicted persons in capital and non-capital cases. See Tex. Code Crim.

Proc. art. 64.05 (providing for the manner of appeal for both capital and

non-capital cases). Therefore, a large number of Chapter 64 appeals are

resolved by intermediate courts. See e.g., In re Robertson, Sr., No. 03-19-

282-CR, 2021 WL 1312589, at *1 (Tex. App.—Austin Apr. 8, 2021); Evans

v. State, 628 S.W.3d 358 (Tex. App—Ft. Worth 2021); Ambriati v. State,

No. 09-15-65-CR, 2015 WL 6998616, at *1 (Tex. App—Beaumont Nov. 12,

2015). Chapter 64 appeals to the CCA are but one way in which convicted

persons in Texas can avail themselves of the benefits of postconviction

DNA testing. Wood’s myopic focus on one piece of Chapter 64’s

procedures failed to demonstrate that the right to postconviction DNA

testing under Chapter 64 was illusory. ROA.2276.



                                    30
     Notably, Wood’s selected timeframe has no practical relevance. In

his discussion on the allegedly novel way the CCA construed Chapter 64’s

unreasonable-delay element, for instance, Wood referenced cases outside

the timeframe in which the CCA decided in the movant’s favor. ROA.23.

Those cases demonstrate that the CCA indeed decides Chapter 64

appeals in the defendant’s favor and that it is disingenuous to pick a

random period of time as proof that the CCA never rules in a certain way.

In fact, Wood created a false impression by using the past fifteen years

as the basis for examining the frequency in which Chapter 64 motions

succeed. Since 2013, the Texas Code of Criminal Procedure Article 38.43

has required all biological evidence in death penalty cases to be DNA

tested prior to trial. That would necessarily limit the postconviction

testing requests during most of the fifteen-year period Wood addressed

and skew any resulting statistics.

     Finally, Wood’s argument ignored those situations where the State

agrees to post-conviction testing, as was done in this case with the items

tested in 2010, ROA.48. See e.g., Skinner v. State, 665 S.W.3d 1, 10–16

(Tex. Crim. App. 2022) (summarizing Chapter 64 proceedings); Findings

of Fact and Conclusions of Law, Irvan v. State, No. 864928 (180th Dist.



                                     31
Ct., Harris Co. Tex., Oct. 10, 2024) (trial court’s order following agreed

DNA testing). By definition, when there is an agreement between the

parties, there is no appeal. Therefore, again, appellate statistics cannot

represent how most Chapter 64 requests are resolved, and the lower

court properly declined to limit the scope of its review of whether Chapter

64’s procedures are violative of procedural due process. ROA.2276. And

as noted above, the exercise of prosecutorial discretion to agree to

postconviction DNA testing—which discretion may well be informed by

the same considerations as those outlined in Chapter 64’s prerequisites—

supports the conclusion that Chapter 64 is not an illusory right.

     Even assuming Wood’s allegations were true, they created nothing

more than a suspicion of a legally cognizable right of action. See Twombly,

550 U.S. at 556–57. Under Osborne, Wood was required to demonstrate

that Texas’s procedures “are fundamentally inadequate to vindicate the

substantive rights provided” by Chapter 64. Osborne, 557 U.S. at 69–71.

Wood’s argument that the CCA’s construction of Chapter 64 rendered its

benefits illusory entirely failed to do so. The lower court’s judgment in

that respect should be affirmed.




                                    32
     D.    Wood’s claim challenging Chapter 64’s unreasonable-
           delay element is baseless.

     Chapter 64 requires a movant to prove his request for

postconviction DNA testing “is not made to unreasonably delay the

execution of sentence or administration of justice.” Tex. Code Crim. Proc.

art. 64.03(a)(2)(B). The requirement that DNA testing “must have been

diligently pursued” is similar to requirements imposed “by federal law

and the law of other States, and they are not inconsistent with the

‘traditions and conscience of our people’ or with ‘any recognized principle

of fundamental fairness.’” Osborne, 557 U.S. at 70 (quoting Medina v.

California, 505 U.S. 437, 446, 448 (1992)). Indeed, the federal

counterpart, the “model for how States ought to handle” enactment of

postconviction DNA testing schemes, id. at 63, presumes untimeliness if

the request is made five years after its enactment or three years after

conviction, 18 U.S.C. § 3600(a)(10)(B). Consequently, Wood’s claim

challenging the state court’s application of Chapter 64’s unreasonable

delay element to him, necessarily fails. 10 See Alvarez v. Attorney General


10    As noted above, Wood’s as-applied challenge to the CCA’s judgment with
respect to Chapter 64’s unreasonable-delay element was plainly an
inappropriate attack against the state court judgment rather than a facial
challenge to Chapter 64’s procedures. Wood’s belabored discussion in his


                                    33
of Fla., 679 F.3d 1257, 1266 n.2 (11th Cir. 2012) (“In short, inasmuch as

Florida’s DNA access procedures either mirror or are more applicant-

friendly than the Alaska and federal statutes endorsed in Osborne,

Florida’s postconviction DNA access procedures plainly do not offend [due

process].”); Cunningham v. Dist. Attorney’s Office for Escambia County,

592 F.3d 1237, 1263 (11th Cir. 2010) (“Alabama’s procedures pass muster

if they compare favorably with Alaska’s.”); McKithen v. Brown, 626 F.3d

143, 153–54 (2d Cir. 2010) (holding that New York’s statutory framework

providing for DNA testing was adequate because its standards were less

“restrictive and difficult to meet” than the Alaska standard at issue in

Osborne). Nonetheless, Wood fails to show the CCA’s application of

Chapter 64’s unreasonable-delay element in his case was violative of due

process.

      Indeed, Wood’s second claim failed even to allege Chapter 64’s

unreasonable-delay element or that the CCA’s authoritative construction

of it was “fundamentally inadequate to vindicate the substantive rights




complaint about the CCA’s evaluation of the facts of his case, and his complaint
that the CCA’s decision was inconsistent with its precedent, ROA.9–17, 23–26,
illustrate that his claim amounted to nothing more than an inappropriate end-
run around Rooker-Feldman’s limitation on federal court jurisdiction.


                                      34
provided.” Osborne, 557 U.S. at 69. Instead, Wood’s challenge to Chapter

64’s unreasonable-delay element was based on his allegation that the

CCA interpreted the element in a novel way in his case that deprived him

of notice. ROA.21. Wood’s claim failed to state a plausible claim for relief,

and the district court properly dismissed it. ROA.2277–78.

     Wood argued that “[w]hile unreasonable delay provisions may in

the abstract be permissible parts of state DNA testing statutes, the

TCCA’s construction of this provision violates due process.” ROA.21. The

entire argument was based on Wood’s assertion that, prior to his case,

the CCA had construed Chapter 64 in such a way that unreasonable

delay was found only if the movant had an active execution date when a

Chapter 64 motion was filed. ROA.21–24. However, Wood misread the

CCA’s precedent.

     By the time Wood filed his first Chapter 64 motion in 2010, he was

on notice of the State’s plan to seek an execution date—he had an

execution date prior to that filing. ROA.80. The execution was stayed

when the CCA authorized a subsequent habeas application to allow Wood

to raise a claim alleging ineligibility for capital punishment due to his

purported intellectual disability. ROA.80. It was during the time that the



                                     35
intellectual-disability claim was pending that Wood began his DNA

testing motions. ROA.79–80. Wood continued filing amended motions

after the intellectual-disability claim was resolved. See Wood, 693 S.W.3d

at 330–36. Specifically, Wood’s April 3, 2015 motion was hastily filed

after being told that the State was seeking a new execution date. See

ROA.531–32 (the State’s explanation that Wood’s 2015 motion “was filed

only in response to [the trial court’s] assertion that an execution date

would be set”). Furthermore, as the CCA noted, in 2019, although his

intellectual-disability claim had been resolved, Wood used his pending

Chapter 64 requests to argue against the setting of an execution date.

Wood, 693 S.W.3d at 336.

      Additionally, as noted above, the fact that Chapter 64 is applicable

to convictions beyond capital murder demonstrates the absurdity of

Wood’s argument that the CCA has authoritatively construed the

unreasonable-delay provision as hinging on the existence of an execution

date. See Tex. Code Crim. Proc. art. 64.05. Such a theory would render

every Chapter 64 motion in a non-death penalty case timely regardless

of the actual facts of the case.




                                   36
     Wood also argued that “While in some instances the TCCA would

use other factors in its justification for finding unreasonable delay,

plainly the presence of an execution date was the critical factor in this

determination. When no execution date was set or imminent, the TCCA

routinely would not even address the delay prong in death penalty cases.”

ROA.24. But it cannot reasonably be argued that the CCA authoritatively

construed Article 64.03(a)(2)(B) without mentioning it. The CCA decided

the issues that it was presented with. See e.g. Leal v. State, 303 S.W.3d

292, 296 (Tex. Crim. App. 2009) (“Appellant states that the issue

presented in his current appeal is whether he has established under

Chapter 64 that he is entitled to have forensic testing performed on

biological material introduced as evidence in his capital-murder trial.”)

     Wood’s dilatoriness was an appropriate basis on which the CCA

denied DNA testing, and Wood fails to prove that the timeliness

requirement of Chapter 64 is fundamentally unfair. Cf. Cromartie v.

Shealy, 941 F.3d 1244, 1256 (11th Cir. 2019) (finding that the due

diligence requirement in Georgia’s postconviction DNA testing scheme

did not violate due process).




                                   37
     In Reed v. State, the CCA specifically listed factors to be used in

determining whether a Chapter 64 motion was brought for unreasonable

delay.11 541 S.W.3d 759, 778 (Tex. Crim. App. 2017). Consistent with its

opinion in Reed, in Wood’s case, the CCA discussed a number of factors

that lead to the conclusion that Wood failed to demonstrate that his DNA

request was not made for the purpose of delay, including the existence or

anticipation of an execution date. Wood, 693 S.W.3d at 329–40. As the

CCA explained,

     The statute “does not contain set criteria a court must
     consider in deciding whether a movant satisfied his burden
     that his request is not made to unreasonably delay a
     sentence’s execution,” but circumstances that may be
     considered include “the promptness of the request, the
     temporal proximity between the request and the sentence’s
     execution, or the ability to request the testing earlier. But
     cases will “turn on the discrete facts” they present and there
     is “no definitive criteria for answering this inherently fact-
     specific and subjective inquiry.”

Id. at 329 (quoting Reed, 541 S.W.3d at 778).




11    Wood complained that because Reed was decided after Wood sought DNA
testing he did not have notice that a determination of the delay provision
required fact-based inquiry into factors beyond the existence of an execution
date. ROA.26. However, the Reed opinion cited to previous decisions,
demonstrating that the principle was not a new one. Reed, 541 S.W.3d at 778.


                                     38
      The CCA identified the piecemeal nature of his litigation tactics as

a factor in favor of finding unreasonable delay. Id. at 336–39. The CCA

described at great length the numerous Chapter 64 and ancillary

pleadings Wood filed during the proceedings. Id. at 329–40 (describing

the four DNA motions, motions for extension, motions to recuse the trial

court, and motions to remove the District Attorney pro tem, as well as

the plainly dilatory nature of the filings). However, the problem was not

merely the number of pleadings, but the fact that Wood waited until the

previous roadblock was finally cleared before filing his next motion

without regard for the fact that the motion should have been filed earlier.

Id. at 338. The court stated,

      Even if the ancillary motions had all been legitimate in the
      abstract, [Wood] doled many of them out one at a time to
      further delay the proceedings. And regardless of whether
      there was a procedural default, a number of the motions were
      clearly filed late.

Id.

      Additionally, as the CCA identified, “the piecemeal litigation of

ancillary motions that could have been filed earlier has continued even

on appeal.” Id. As examples of the piecemeal appellate litigation, the

court pointed to the “ancillary motions [that] were clearly without merit”



                                    39
that the court was forced to deal with in its opinion–motions to remove

Judge Richardson as trial judge, motion to certify to the Governor to

appoint a judge on appeal, motion to remove the Attorney General as

District Attorney Pro Tem, “Motion to Mitigate Harm Caused by the

State’s Loss or Destruction of Potentially Exculpatory Biological

Evidence.” Id.

     This discussion was consistent with the CCA’s opinion in

Swearingen v. State, 303 S.W.3d 728, 736 (Tex. Crim. App. 2010). In that

case, the CCA established that the movant’s actions beyond the mere

filing of the Chapter 64 motion will be examined in determining whether

the request was made for the purpose of delay. Id. Similarly, the CCA in

Wood’s case relied on its precedent in which it found filings that were less

tardy than Wood’s nonetheless exhibited unreasonable delay. Wood, 693

S.W.3d at 337.

     Wood’s disagreement with the CCA’s conclusion belies any

assertion that he is making a facial attack on the constitutionality of

Chapter 64’s procedures. Instead, he merely disagrees with the CCA’s

fact findings and its conclusion founded upon those facts. Wood’s case

simply illustrates that courts cannot anticipate the myriad ways



                                    40
inmates—particularly       death-sentenced      ones—might       seek    to

unreasonably delay the execution of their sentence. See Rhines, 544 U.S.

at 277–78 (it is no secret that “capital petitioners might deliberately

engage in dilatory tactics to prolong their incarceration and avoid

execution of a sentence of death.”).

     Wood’s attempt to draw out a constitutional infirmity from the

CCA’s application of a highly generalized, context-specific reasonability

standard fails to show Chapter 64’s procedures violate procedural due

process. Indeed, Wood cannot show he lacked notice and the opportunity

to respond to the notion that he exhibited unreasonable delay even

without a pending execution date because he fails to identify any CCA

precedent that expressly limited the scope of its application of the

unreasonable-delay element in such a way or that the CCA’s precedent

misled him to believe his Chapter 64 motions were timely by virtue of the

sole fact that they were filed when an execution date was not pending.

Cf. Manning v. Epps, 688 F.3d 177, 187 (5th Cir. 2012) (“Equitable tolling

can be available ‘if the plaintiff [was] actively misled by the defendant

about the cause of action or [was] prevented in some extraordinary way

from asserting his rights.’” (quoting Lookingbill v. Cockrell, 293 F.3d 256,



                                       41
264 (5th Cir. 2002)). Even if Wood could identify such precedent, he could

hardly claim he was not on notice that his Chapter 64 requests would be

considered dilatory given that the trial judge in his case as early as 2011

told Wood they were. See Wood, 693 S.W.3d at 332 (“I think the record is

clear about what I think about the delays here that have taken place,

including the Court’s threat to hold you in contempt.”), 333 (“I think my

findings are quite clear about the delays that have taken place. And it’s

my opinion at this point, it’s inexcusable.”), 333–34 (quoting the trial

judge’s comment that there was “no question” that Wood’s Chapter 64

requests were piecemealed).

     Wood relies on three opinions by the CCA that he suggests

indicated the absence of a pending execution date at the time of the filing

of a Chapter 64 motion would support the conclusion that the purpose of

the motion was not unreasonable delay. Appellant’s Br. 37–38 (citing

Routier v. State, 273 S.W.3d 241, 245, 259 Tex. Crim. App. 2008), Raby

v. State, No. AP-74,930, 2005 WL 8154134, at *2 (Tex. Crim. App. June

29, 2005), and Skinner v. State, 122 S.W.3d 808, 811 (Tex. Crim. App.

2003)). The CCA in Routier did not even address the unreasonable-delay

element. Routier, 273 S.W.3d at 245, 259. In Raby, the CCA found the



                                    42
Chapter 64 motion was not for the purpose of delay where, unlike in this

case, “the trial court ha[d] never set an execution date for appellant” and

when the initial habeas proceedings had not concluded. Raby, 2005 WL

8154134, at *2 (emphasis added). And in Skinner, there was no execution

date set, and his federal habeas appeal was pending. 122 S.W.3d at 811.

In contrast, when Wood filed his first Chapter 64 motion in 2010, he had

already faced an execution date, and his federal habeas proceedings had

concluded more than two years earlier, Wood v. Quarterman, 552 U.S.

1314 (2008). Wood can hardly claim he detrimentally relied on such

precedent where his case was plainly distinguishable from those cases. If

Wood relied on the absence of a pending execution date at the time of his

Chapter 64 filings as the dispositive factor to show the filings were not

for the purpose of unreasonable delay, that was his own litigation choice,

one that was not compelled by any CCA precedent.

     Wood relies on the proposition that a due process violation may

result from an unforeseeable retroactive expansion of language that

appears narrow and precise on its face. Appellant’s Br. 35–36 (citing

Rogers v. Tennessee, 532 U.S. 451, 457 (2001)). But a reasonability

standard like Chapter 64’s unreasonable-delay provision is hardly as



                                    43
narrow and precise as Wood attempts to paint it. See Reed, 541 S.W.3d

at 779. Wood cannot claim a lack of notice that his Chapter 64 filings

could be considered dilatory under the statute where (1) the trial court

told him they would be, (2) no CCA precedent purported to make the

absence of a pending execution date at the time of filing dispositive of the

unreasonable-delay analysis, and (3) the CCA precedent on which Wood

purportedly relied was plainly distinguishable from the facts of his case.

      As the lower court found, Wood failed to identify any precedent that

“demonstrate[d] that the presence or absence of an execution date is a

critical factor that trial courts must consider in determining whether a

motion for DNA testing was made to unreasonably delay a sentence.”

ROA.2277. The district court’s dismissal of this claim was plainly

appropriate, and this Court should affirm.

II.   This Court Should Deny Wood’s Request for a Stay of
      Execution.

      This Court should deny Wood’s request for a stay of execution. A

stay of execution “is not available as a matter of right, and equity must

be sensitive to the State’s strong interest in enforcing its criminal

judgments without undue interference from the federal courts.” Hill v.

McDonough, 547 U.S. 573, 584 (2006) (citing Nelson v. Campbell, 541


                                    44
U.S. 637, 649–50 (2004)). Rather, the inmate must satisfy all the

requirements for a stay, including a showing of a significant possibility

of success on the merits. Id. (citing Barefoot v. Estelle, 463 U.S. 880, 895–

96 (1983)). When the requested relief is a stay of execution, a court must

consider:

     (1) whether the stay applicant has made a strong showing
     that he is likely to succeed on the merits; (2) whether the
     applicant will be irreparably injured absent a stay;
     (3) whether issuance of the stay will substantially injure the
     other parties interested in the proceeding; and (4) where the
     public interest lies.

Nken v. Holder, 556 U.S. 418, 434 (2009) (quoting Hilton v. Braunskill,

481 U.S. 770, 776 (1987)). A federal court must consider “the State’s

strong interest in proceeding with its judgment” and “attempt[s] at

manipulation.” Nelson, 541 U.S. at 649–50 (citing Gomez v. U.S. Dist.

Court for Northern Dist of California, 503 U.S. 653, 654 (1992)).

     As demonstrated above, Wood fails to demonstrate a likelihood of

success on either of the underlying claims. Neither claim comes near

satisfying the Osborne standard of demonstrating Chapter 64’s

procedures are fundamentally inadequate to vindicate the right to

postconviction DNA testing, and the district court properly dismissed the

claims for that reason. Contrary to Wood’s argument, Mot. 10–11, the


                                     45
district court did not abuse its discretion in denying a stay based on its

finding regarding one of the most critical factors, the likelihood of success

on the merits, Nken, 556 U.S. at 434; see Walker v. Epps, 287 F. App’x

371, 375 (5th Cir. 2008) (explaining that “the merits of [the movant’s]

case are essential to [the court’s] determination of whether he will suffer

irreparable harm if a stay does not issue”).

     Further, “[b]oth the State and the victims of crimes have an

important interest in the timely enforcement of a sentence.” Hill, 547

U.S. at 584. Wood killed his victims almost forty years ago. He

exhaustively appealed his sentence through both state and federal court,

obtaining a stay of execution in 2009. Wood, 693 S.W.3d at 330. He has

engaged in a course of litigation that plainly demonstrated an intent to

piecemeal his filings to unreasonably delay the execution of his sentence.

Id. at 336–39. As the CCA concluded, this conduct was a “classic sign of

purposeful delay,” not a diligent effort to obtain relief. Id. at 337. Such

dilatory tactics underscore why the court should deny this motion for

stay. See, e.g., Bucklew v. Precythe, 587 U.S. 119, 149–51 (2019). It is not

a “rush” to set an execution date for Wood that precipitated the filing of

his request for a stay of execution but rather the proliferation of filings



                                     46
that has continued until mere days before his scheduled execution.

Moreover, as the state trial court found, ROA.232, Wood’s reliance on the

presence of an unknown male DNA profile is unavailing, Mot. 5–6. Wood

presents no legitimate reason to delay his execution date any longer. The

families of Wood’s numerous victims deserve justice for his decades-old

crimes.

     As noted above, Wood has suggested this Court should stay his

execution to await the Supreme Court’s decision in Gutierrez v. Saenz.

ROA.2200. But again, the standing issue in Gutierrez is entirely distinct

from the merits of Wood’s claims, which is the basis on which the district

court dismissed his complaint and denied the request for a stay of

execution. ROA.2276–79. A stay in these circumstances would be entirely

inappropriate.

     For the reasons argued above, this Court should deny the requested

relief and a stay. Wood cannot overcome the strong presumption against

granting a stay or demonstrate that the balance of equities entitles him

to a stay of execution. For the same reason, Wood fails to show that he

would suffer irreparable harm if denied a stay of execution. Wood cannot

show he would be irreparably harmed if denied additional process to



                                   47
which he has no entitlement. His request for a stay of execution should

be denied

                             CONCLUSION

     For the foregoing reasons, Defendant–Appellee asks that the Court

affirm the district court’s dismissal of Wood’s complaint, affirm the

district court’s denial of Wood’s request for a stay of execution, and deny

Wood’s current motion to stay his execution.

                                  Respectfully submitted,

                                  KEN PAXTON
                                  Attorney General of Texas

                                  BRENT WEBSTER
                                  First Assistant Attorney General

                                  JOSH RENO
                                  Deputy Attorney General
                                    for Criminal Justice

                                  TOMEE HEINING
                                  Acting Chief, Criminal Appeals
                                  s/ Rachel Patton
                                  RACHEL PATTON
                                  Assistant Attorney General/District
                                  Attorney Pro Tem
                                  State Bar No. 24039030
                                     Counsel of Record

                                  P.O. Box 12548, Capitol Station
                                  Austin, Texas 78711
                                  Tel: (512) 936–1400


                                    48
Fax: (512) 320–8132
Email: rachel.patton@oag.texas.gov
Counsel for Defendant–Appellee




 49
                    CERTIFICATE OF SERVICE

     I do hereby certify that on March 6, 2025, I electronically filed the

foregoing document with the Clerk of the Court for the United States

Court of Appeals for the Fifth Circuit using the electronic case-filing

(ECF) system of the Court. The ECF system sent a “Notice of Electronic

Filing” (NEF) to the following attorney of record, who consented in

writing to accept the NEF as service of this document by electronic

means:

Jason Hawkins, Jeremy Schepers, Naomi Fenwick, Claire Davis
OFFICE OF THE FEDERAL PUBLIC DEFENDER
NORTHERN DISTRICT OF TEXAS
CAPITAL HABEAS UNIT
525 S. Griffin St., Ste. 629
Dallas, TX 75202

Gregory Wiercioch
Frank J. Remington Center
University of Wisconsin Law School
975 Bascom Mall
Madison, Wisconsin 53706

                                 s/ Rachel Patton
                                 RACHEL PATTON
                                 Assistant Attorney General




                                   50
                 CERTIFICATE OF COMPLIANCE

     This brief complies with Rule 32(a)(7)(B) of the Federal Rules of

Appellate Procedure. It contains 10,692 words, Microsoft Word for Office

365, Century Schoolbook, 14 points.

                                 s/ Rachel Patton
                                 RACHEL PATTON
                                 Assistant Attorney General




                                  51
         ELECTRONIC CASE FILING CERTIFICATIONS

     I do hereby certify that: (1) all required privacy redactions have

been made; (2) this electronic submission is an exact copy of the paper

document; and (3) this document has been scanned using the most recent

version of a commercial virus scanning program and is free of viruses.

                                 s/ Rachel Patton
                                 RACHEL PATTON
                                 Assistant Attorney General




                                  52
